          Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 1 of 22




                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF TEXAS
                                           SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,           §
                                    §
VS.                                 §    CRIM. NO. 5:21CR00082DAE
                                    §
CALEB NATHANIEL OLIVER              §
________________________________________________________________________

                     SENTENCING MEMORANDUM
________________________________________________________________________

TO THE HONORABLE DAVID A. EZRA, UNITED STATES DISTRICT COURT
JUDGE FOR THE WESTERN DISTRICT OF TEXAS:

                                                                      I.

        On February 24, 2021, a grand jury sitting in San Antonio returned the Indictment
in this cause which named Defendant and charged one count of Illegal Possession of a
Prohibited Weapon, in violation of Title 18, U.S.C. § 922(o).
        On March 18, 2021, Defendant pleaded guilty to the Indictment.

                                                                     II.

        Caleb Oliver is an immature nineteen-year-old. However, Mr. Oliver possesses the
maturity to recognize he did something inexcusable, illegal, and quite foolish; he has
expressed regret and remorse repeatedly.1
        Mr. Oliver finds himself before the Court as a result of an investigation by the
Federal Bureau of Investigation of an extremist, nationalist group known as the Iron Youth.
PSI, ¶ 9. Agents were able to infiltrate the group and discovered Mr. Oliver’s affiliation
with the group.
        Members of the group, including Mr. Oliver, discussed through electronic
communications, a willingness to use violence to accomplish its goals or further its
ridiculous views. The Iron Youth’s membership was small but located in various parts of
the United States. One member was closest in geographical proximity to the FBI agents
conducting the investigation: Caleb Oliver. Agent penetrated the group and made contact
with Mr. Oliver.
        Beginning on September 12, 2020, undercover agents met with Caleb Oliver
multiple times. Caleb Oliver took a strong liking to the agents and grew to consider them
his friends. Caleb Oliver was an overweight, lonely young man, who suffered from poor


1
    Soon after his arrest, Mr. Oliver was adamant that he wished to meet with federal authorities and tell all that he knew, what he did,
and provide evidence on any matter requested. Mr. Oliver was motivated by a desire to be helpful and to attempt to make right what
he had done wrong. He met with federal agents and prosecutors on March 22, 2021.



                                                                      1
     Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 2 of 22




self-esteem and lacked social skills. He was a loner to whom the agents offered friendship
and even offered to help him lose weight with a workout regimen. The agents also voiced
their strong beliefs in the Iron Youth philosophy.
         Caleb Oliver discussed more than working out when he met with the undercover
agents. To his deep, deep regret and shame, Caleb Oliver sought to ingratiate himself with
his new friends and to engage in braggadocio. Mr. Oliver, in the course of these several
meetings, discussed using violence to accomplish Iron Youth goals, discussed the use of
lethal or military implements, suitable targets for violent assault, assented to statements by
another Iron Youth member to the use of firearms. ¶¶ 10-11. Caleb Oliver, on November
7, 2020, told his new friends that he wished to obtain a fully automatic firearm so that he
could “fully let loose.” ¶ 11. He repeated his desire in subsequent meetings. ¶ 12.
         Caleb Oliver’s multiple foolish statements to the undercover agents about his desire
to obtain an automatic firearm came to a head on February 5, 2021. Agents met with Caleb
Oliver and produced an automatic pistol. Understanding that possession of an automatic
weapon was illegal, Mr. Oliver bought the pistol from the agents for $1,000; he was
arrested immediately. ¶ 13.

                                             III.

         The United States Probation Officer has calculated Defendant’s base offense level
at fifteen. ¶ 27. Caleb Oliver has a criminal history score of zero, and falls into criminal
history category I. ¶ 32. His sentencing guideline range is 18 to 24 months of
imprisonment. ¶ 51.

                                             IV.

        As the Court is aware, when assessing appropriate punishment, the district court
“shall impose a sentence sufficient, but not greater than necessary, to comply with [the
purposes of sentencing].” (emphasis added). 18 U.S.C. § 3553(a). Accord, Pepper v. U.S.
562 U.S. 476, 491 (2011) (“sentencing judge's overarching duty under § 3553(a) [is to] to
impose a sentence sufficient, but not greater than necessary” to comply with the sentencing
purposes set forth in § 3553(a)(2)).
        With this sentencing guidance in mind, who is Caleb Nathaniel Oliver?

                                             V.

         Caleb Oliver is a sad young man with a history of serious depression. ¶ 42. He
describes a happy childhood, ¶ 37, but this statement is an attempt to mask the pain he has
endured.
         Caleb’s mother captures Caleb Oliver best. She describes a young man who has
endured heartbreak in his relatively short life and has been affected by it. Her letter speaks
for itself but perhaps its most significant revelation is a chronically sad and lonely person
who wanted nothing more than to be accepted by others. His loneliness combined with his
gullibility and extreme need to please others appear to have combined to make the perfect
recruit for a group like the Iron Youth. The depth of Caleb’s sincere beliefs in the Iron




                                              2
     Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 3 of 22




Youth program is best shown by the fact that his friend is black and his father figure was
Hispanic.
       Caleb Oliver was a Special Education student in high school who did not allow his
learning difficulties to prevent him from graduating. He is seen by those who know him
as a genuinely good young man who is always quick to help others. Letters from those
who know him best have been attached; they speak highly of Caleb Oliver and speak for
themselves.

                                            VI.

        Wherefore, Defendant asks that the Court assess a sentence that takes into account
all of Caleb Oliver, not just one foolish episode for which he will always feel great shame.

Respectfully submitted,

_/S/________________________________
JOEY CONTRERAS
Ramos & del Cueto
823 Hoefgen
San Antonio, Texas 78210
Phone (210) 212-9000
Facsimile (210) 212-9242
State Bar No. 04712320
joey@rradc.com



                              CERTIFICATE OF SERVICE

I hereby certify that on this the 21st day of June, 2021, a copy of the foregoing
SENTENCING MEMORANDUM has been delivered to the United States, via ECF
electronic filing.

_/S/________________________________
Joey Contreras




                                             3
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 4 of 22




 ATTACHMENTS
          Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 5 of 22




Dear Judge Ezra,



My name is Grace Oliver and Caleb is my son. I am writing you this letter so that you can get to know
Caleb a little better and get to know the kind of person he really is. I realize Caleb has been charged
with a very serious offense and it’s not my intention to minimize what he did. But I want you to
understand Caleb is still an immature teenager that is trying to find his place in this world. He is kind
and caring and would give anyone anything they needed. I will try to make this brief and give you a
quick synopsis of his life.

Caleb was 4 years old when he started school and he was always the youngest in his grades due to his
age. He had his 4th birthday on Friday and started school the following Monday so that always made
him the youngest one in his grade during his school years. This is important due to him always being
immature and emotionally behind his classmates and friends. And as a side note a week after he started
school his father had his 1st liver transplant. I remember that his father’s very poor health scared Caleb
and made him anxious.

During Caleb's school years he had few friends and had a difficult time making true friends. He was
always the biggest kid in his class and was teased about this at times. He suffered with sadness and
depression and with low self-esteem. As a result Caleb was always trying to please others and would do
whatever his classmates asked of him. If one of his class mates wanted to “borrow” something from
him he would always let them. When they would not return his things and he would just say “It's OK
mom they needed it more than I did”.

Caleb was always kind to others and would remain calm even when he was taken advantage of. I think
his lack of maturity and always wanting to please everyone made Caleb into a gullible people pleaser
who was easy to take advantage of. And so he had very few real friends. Instead of spending time with
real friends, Caleb would spend time alone at home doing his drawings. Caleb had a difficult time in
school and was diagnosed with ADHD, Anxiety and Depression. His depression got so severe he had to
be hospitalized for it twice. He was never in trouble at school and never had any disciplinary actions
during his school years. He was in Special Ed service and had an assistive helper read tests and
assignments during classes. I met with the ARD committee twice a year to check on his progress and he
progressed as best as could be expected with his learning difficulties. Caleb tried and never gave up and
was able to gradate with his class of 2019 even though he ranked at the bottom of the class.

Despite his struggles with school, Caleb is extremely talented and very creative. He is a self-taught
guitar, cello and drum player and is working on learning to play the piano. He has recorded some of his
music and is recording a record. All on his own teachings. He has also sung in the church choir. Although
Caleb shows initiative when it comes to music and art, he has always been overly accepting of others
and too very trusting of others. He believes people at face value and he trusts people beyond measure.
He was raised in the country and we have always tried to keep him from harm's way and things of the
world, so he is extremely gullible in nature. Caleb is a typical teenager and does teenager things, but he
is much more trusting than a typical teenager. I always worried that he would be easy to manipulate and
be taken advantage of. But I trust him with my life and with my families lives, including my
grandchildren.
          Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 6 of 22




Caleb has an older brother that moved out of the house at 17 and Caleb lived with me and him alone
due me and his father getting a divorce. Even though we were divorced Caleb and his father still
continued to have a very close relationship. His father had to have another liver transplant and this was
very difficult on Caleb. His father was sick for a long time. And on January 4, 2020 his father passed
away. His father was hospitalized for a week in ICU prior to his death and Caleb was there 24 hours a day
at his bedside. And Caleb witnessed his last breath. Caleb took his father's death very hard and still
thinks about him every day and misses him and still talks about him often. I really don’t exactly how his
father’s death affected Caleb but I know it was traumatic and he still suffers.

After our divorce I was with someone for 4 years and Caleb thought of him as a father figure and the
relationship ended in January 2019. They were very close and they had a strong father son bond. So,
once again Caleb was alone without a male role model and suffered a tremendous loss. Caleb has also
lost his step-father due to divorce.

So, Caleb has had many losses and tragedies in his short teenage life. He has always been looking for
acceptance and looking for friends and close relationships. He has always been more trusting than most
and always believes what people tell him. Caleb’s life experiences have made him a kind but overly
trusting young man. He wants desperately to be accepted by others and wants close friendships. Caleb
is a kind person. I believe that’s how Caleb got involved with that group that got him into so much
trouble. Caleb just wanted to be accepted and to have close friends. He deeply regrets the friends he
chose from that terrible group and he is very ashamed of his actions. Caleb is not prejudice at all. He’s
always had friends who were not white and one of his father figures is Mexican. His best friend is black.
I think Caleb went along with the nonsense from that group because he enjoyed what he thought was
friendship. He was too trusting and gullible once again.

Your honor, Caleb is too kind and trusting to survive in prison. I’m terrified how he will be taken
advantage of if he is sent to prison. So, if you can see it possible, I would like to ask that you go lenient
on Caleb and give him probation. He is not a criminal and does not have a criminal mind or mindset and
I'm afraid that if he is to get into the prison system the that will change his view on the world and
change him as a person.

Thank You,



Grace Oliver-MOM
        Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 7 of 22




Sharon M. Hill
193 Diamond View Drive
La Vernia, Texas 78121
(210) 827-6703



Subject: Character Reference Letter for Caleb N. Oliver




To whom it may concern,
  I am writing this character reference letter on behalf of my nephew Caleb
Oliver for the charges he is currently facing. I’ve known Caleb since his
birth. I know his character. So this has taken me by complete surprise, as
the Caleb I know (that his family knows) does not have a criminal
character.

   Caleb is kind, respectful, caring, and devoted to family. His talents
include music, singing, art, and welding. Like most American youth, he
likes playing video games and spending time on his computer.

 Caleb had a very difficult childhood. He grew up with an emotionally
distant, drug addicted, alcoholic father. While Caleb has a very loving,
strong mother, he was left feeling lost, and seeking male guidance and
acceptance.

 His father died last year. Caleb was 18 years old. Since then, he has
been trying to figure out his way in this world while battling depression and
thoughts of suicide. He is currently working; he began actively seeking
Christian guidance and teachings, and was in search of true friendship, and
caring relationships.

 He realized that some of the acquaintances made on the computer were
not what he wanted in his life and was trying to separate from them.
Unfortunately, he did not do so quicker. Also, in an effort to “show off”,
       Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 8 of 22




“prove he was a man” he possibly did things that he would have never
done trying to impress his new found “friends”. He now realizes how foolish
this was and how this must look to the Federal Government. He is filled
with shame and remorse.

   As a former 22-year Air Force Officer, a Commander, and a certified
Early Childhood Education Teacher, I’ve seen young men and women
make regretful decisions and/or statements in an effort to gain attention,
friendship and a sense of belonging. Those who sincerely regret their
actions move forward to become wiser, productive members of their
community.

 Caleb is filled with regret over his naïve, foolish actions and statements.
Statements he made with no actual intent behind them. He now realizes his
mistakes come with serious consequences.

  I am confident of Caleb’s resolve to never make the mistakes he is being
accused of again. He truly wants to do something positive with his life, and
I have no doubt in my mind he will do great things. Therefore, I humbly
request he not be sent to prison and he not be bereaved of separation from
his loving and supportive family. I fear this will only leave him prey to the
negative elements of the prison system. Instead, please consider a lesser,
more constructive sentence such as a psychiatric rehabilitation program.

Respectfully,

Sharon M. Hill
//signed//
                  Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 9 of 22

                                                                                                              Fire Alarm



                                                                                                              Access
                                                                                                              Control



Interceptor Technology Group, LLC                                                                             CCTV
PO Box 827
1213 10th Street
Floresville, TX 78114                                                                                         Cabling
Phone: 830-865-5020
customerservice@itgtx.com
                                                                                                              Comm.
To: Whom it may concern
From: Shaun Murray
                                                                                                              Integrated
Subject: Caleb Oliver
                                                                                                              Systems

            It is with extreme disappointment that I was recently told that Caleb Oliver had been
            arrested (presumably for illegal possession of an automatic weapon). Caleb has been an
            employee of mine since August of last year. He was recommended by our local youth pastor          24 Hour
            at First Baptist Church in Floresville, TX. I can’t explain to you how shocked I was to learn     Monitoring
            that Caleb had gotten himself into this situation. He has been a hard worker, and a fast study    & Service
            learning the fire alarm, life safety trade.
                  During his employment, Caleb has always been on time, and never complained about the
            working conditions, even when we had to work late out in the cold rain one night to make          Consulting
            sure people had fire protection. I have found Caleb to be more and more reliable on the job
            as he has learned more and became more proficient at the trade. With that said, I have also
            learned that Caleb is a follower and not a leader and could be highly susceptible to skilled      Biometrics
            persuasion in any given situation. I believe that is due to his youth and lack of a good strong
            male role model. The recent death of his father has left him without such guidance which I
            believe has made him vulnerable to less honorable influences.                                     Large
                  Part of the reason for my deep disappointment is the fact that my lead technician and       Network
            myself have been working with getting Caleb to become a man, independent and responsible          Systems
            for his self. I saw great progress in that area as Caleb had recently become excited about
            getting out on his own and supporting his own life. We were trying to convey to him that a
            man should not be a burden for his family to support but rather an asset that is self-            ACR-
            supporting. A man should be helpful to others. I was certain we were about to turn that           1737123
            corner when the current situation arose.
                  It is my opinion that Caleb had to be somehow coerced or pressured into this situation by   B-17903
            a bad element of influence, he would not have gone down this path on his own. He simply
            does not have the resources to do this on his own. I hope that if convicted, the judge will
            consider his youth and vulnerabilities and grant a lighter sentence. Our ultimate hope is to
            see Caleb restored and put back under a good influence that will help him to build a good
            and productive life. We are not giving up on him and hope and pray that he will come out of
            this experience, a better man.

            Kind Regards,

            Shaun P. Murray
            President,
            Interceptor Technology Group, LLC
            shaun@itgtx.com
            Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 10 of 22


To whom it may concern.

I have know Caleb Oliver since he started working with us at Interceptor Technology Group about 5
months ago. In that time I have known him to be an effective employee. He takes instruction well and
applies new skills and information quickly. Caleb has been a quick study and valuable asset to this
company.

But more importantly I've seen something else. The best examples happened while he and I were
working a job together just a few weeks ago. I gave instructions to complete some of our inspection
tasks away from me in another part of the building. When we met up again I asked how it went and if
he had completed the tasks I gave him. Caleb reported that he had run into some issues that required
my attention and further testing. This happened two separate times. This may not seem like much but it
was. We had a busy few days, driving to 10 different locations. Caleb knew as soon as we completed
our scheduled jobs for the day he was free to go home. He could have lied and said everything was
fine, not knowing that I could tell weather or not he was being honest. But he didn't lie. He was honest
about the problems that needed to be addressed, delay his time off. I believe it was because he knew the
importance of a thorough and complete inspection of life safety equipment. It shows a respect for
others and that he takes his work seriously. Traits I've seen lacking in several helpers over the last few
years. Even more rare in someone his age.

Lastly, Caleb had been making strides to better himself. Wanting to get in better shape, eat healthy,
stay off social media and read more books. About a month ago he asked me for recommendations on
self improvement books.

I don't fully understand all this young man has gotten himself into. But I truly believe that, above all,
Caleb needs positive role models and encouragement to do what's right. Regardless of the outcome of
his current situation I intend to be there for Caleb in any way necessary to help him back on the right
path.

Thank you for your time.

Respectfully,
Joshua Payton
         Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 11 of 22




                                                                             Elizabeth Tofani-Garcia

                                                                              P.O. BOX 19

                                                                             Poth, Texas 78147




To Whom It May Concern;



February 10, 2021



Please accept this letter on behalf of Caleb N. Oliver. I am writing this letter as a friend.

I have known Caleb and his family for 14 years. I first met Caleb when he was approximately 12 years old
because I worked with his mother, Grace Oliver. Grace and I, became long-term best friends, and I feel
as though, I know her family well, including both of her sons. Our families sharing holidays, vacations
and special occasions, has built connections. I have been around Caleb quite a lot and have never seen
Caleb be angry, aggressive or violent in any way. He has always been a caring and affectionate person.
We have taken, along with my family, vacations. The most notable vacation was a trip to Hawaii, for 10
days, in 2015. Over the years of knowing Caleb, I never saw any behavior that was of concern regarding
being violent, dangerous or presenting of red flags that would cause concerns for aggression or violence.
While I cannot comment on the present circumstances, I have always seen Caleb maintain close
relationships with his family and be engaged as a student, an artist and a musician.

Caleb has ties to his community through his family, church and gainful employment. He is known for
being dependable, responsible, honest, courteous, of upright character, and peaceful.



Sincerely,

Elizabeth Tofani-Garcia
     Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 12 of 22




To whom it may concern,

I would like to give a character reference for Caleb Oliver. I have known Caleb for a
couple years. I was able to visit with Caleb on several occasions about his walk with
the Lord. Caleb was always very attentive and respectful. Caleb also made a decision
to receive the Lord into his life. I know however, that after loosing his father Caleb
was struggling to find his way in life. Caleb started coming to our church through our
youth ministry. Our youth minister Matt Keller spent considerable time with Caleb in
discipleship activities. We are hoping that we can do whatever possible to help Caleb
become a productive young man in our society. Here at FBCF we love Caleb and want
the very best for him. Thank you for allowing me to share a few thoughts about him.


Mike Clements
www.fbcf.org
830 391 2016

 X                                 X
        Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 13 of 22




To whom it may concern,

         I am Caleb Oliver's sister in law, I have known him since we were kids.
My husband is Brian C. Oliver Jr. Caleb has always been a kind, calm person.
He has always been sweet with my kids and my dog Wiggles, they all love him!
He likes to be with his family, he makes sure to check on his grandparents. He
cares about his friends and family and would do anything for them. He is a
wonderful uncle to my children and they love him dearly! He takes the time to
be silly and play with them, he teaches them things like how to draw (he's
REALLY talented). Caleb is one of the best people I know, considering the way
most kids his age are, I think Caleb is doing extremely well. I hope this helps
you see that he is just a sweet 19 year old and has a family that loves him and
is praying that you see who he really is.

                                      Sincerely,

                                   Kaylee J Oliver
        Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 14 of 22




To whom it may concern,

         Caleb Oliver is my brother. He is one of the nicest people I know. He
has always been kind to others and helped anyone who needed it. I have
never seen him act out in any way, he has never been in any kind of trouble or
anything. He babysits his niece and nephew and is the best uncle, they love
him so much! We lost our dad a year ago, it has been rough emotionally for all
of us. Caleb would do anything for his friends and he would never do anything
to harm anyone or anything. He has always been calm natured and loves to be
with his family. He always makes a point to go see his grandparents, and me
and my kids as well. He keeps a steady job and is good with his money. He is
doing a lot better than most 19 year olds. He has always been an animal lover,
if he saw a stray dog he would bring it home and take care of it. Growing up
our dad was very sick and couldn't be there for us all the time. I wasn't around
a lot either, because I was older and doing my own thing so he was alone a
lot. He has never lived on his own, he's always had my mom there and it kills
me to think how terrified he probably is where he is now. I hope this helps you
see that he's not some big bad criminal, he's just a scared 19 year old boy who
made a mistake. He is a son, brother, uncle and grandson. We all love his and
know in our hearts he is a good person and hope yall see that.

                              Sincerely,

                        Brian Cliffton Oliver Jr.
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 15 of 22
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 16 of 22
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 17 of 22
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 18 of 22
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 19 of 22
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 20 of 22
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 21 of 22
Case 5:21-cr-00082-DAE Document 36 Filed 06/21/21 Page 22 of 22
